Case 2:21-cv-04920-WLH-ADS     Document 6-1   Filed 06/17/21   Page 1 of 3 Page ID
                                     #:198



                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

            SERENA FLEITES, et al. v. MINDGEEK S.A.R.L., et al.
                        Case No. 2:21-cv-4920

                          ATTACHMENT 1 TO SUMMONS

 SERENA FLEITES and JANE DOE
 NOS. 1 through 33,
                 Plaintiffs,
           v.

 MINDGEEK S.A.R.L. a foreign entity;
 MG FREESITES, LTD., a foreign
 entity; MINDGEEK USA
 INCORPORATED, a Delaware
 corporation; MG PREMIUM LTD, a
 foreign entity; RK HOLDINGS USA
 INC., a Florida corporation, MG
 GLOBAL ENTERTAINMENT INC., a
 Delaware corporation,
 TRAFFICJUNKY INC., a foreign
 entity; BERND BERGMAIR, a foreign
 individual; FERAS ANTOON, a
 foreign individual; DAVID
 TASSILLO, a foreign individual;
 COREY URMAN, a foreign individual;
 VISA INC., a Delaware corporation;
 COLBECK CAPITAL DOES 1-10; and
 BERGMAIR DOES 1-10

                Defendants.
Case 2:21-cv-04920-WLH-ADS     Document 6-1   Filed 06/17/21   Page 2 of 3 Page ID
                                     #:199



                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA

             SERENA FLEITES, et al. v. MINDGEEK S.A.R.L., et al.
                         Case No. 2:21-cv-4920

                        ATTACHMENT 2 TO SUMMONS

                         DEFENDANTS TO BE SERVED

  MINDGEEK S.A.R.L.
  32 Boulevard Royal
  L - 2449 Luxembourg City, Luxembourg

  MG FREESITES LTD. (D/B/A PORNHUB)
  195-197 Old Nicosia-Limassol Road
  Block 1 Dali Industrial Zone
  Cyprus, 2540

  MINDGEEK USA INCORPORATED
  21800 Oxnard Street, Suite 150
  Woodland Hills, CA 91367

  c/o CT Corporation System
  818 West 7th Street, Suite 930
  Los Angeles, CA 90017

  MG PREMIUM LTD.
  195-197 Old Nicosia-Liamassol Road
  Block 1 Dali Industrial Zone,
  Cyprus, 2540

  RK HOLDINGS USA INC.
  1094 South Ocean Boulevard
  Palm Beach, FL 33480

  MG GLOBAL ENTERTAINMENT INC.
  21800 Oxnard Street, Suite 150
  Woodland Hills, CA, 91367-7909



                                       2
Case 2:21-cv-04920-WLH-ADS      Document 6-1   Filed 06/17/21   Page 3 of 3 Page ID
                                      #:200



  TRAFFICJUNKY INC.
  7777, Decarie Boulevard, Office 600
  Montreal, Quebec, H4P 2H2

  FERAS ANTOON
  Rue du Baron Louis Empain
  Sainte-Marguerite-du-Lac-Masson
  Quebec, Canada
  2XQ7+9H

  DAVID TASSILLO
  342 Rue Des Anemones
  Laval, QC H7X 0C1, Canada

  COREY URMAN
  201-4250 Rue Saint-Ambroise
  Montréal, Québec, Canada
  H4C3R4

  BERND BERGMAIR
  70/F The Harbour View Place
  APT, 1 Austin Road West
  Hong Kong

  COLBECK CAPITAL MANAGEMENT LLC
  888 Seventh Avenue, 29th Floor,
  New York, New York 10106

  VISA INC.
  P.O. Box 8999
  San Francisco, California 94128

  COLBECK CAPITAL DOES 1-10

  BERGMAIR DOES 1-10




                                        3
